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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

ALFRED CHESTNUT,                                           )
ANDREW STEWART, JR.,                                       )
and RANSOM WATKINS                                         )
                                                           )
                                                           )
                                  Plaintiffs,              )
                                                           )
                  v.                                       )       20-CV-02342-LKG
                                                           )
DONALD KINCAID,                                            )
et al.,                                                    )
                                                           )
                                  Defendants.              )
                                                           )

      MOTION TO COMPEL THE NEW YORKER TO COMPLY WITH INDIVIDUAL
                    DEFENDANTS’ RECORDS SUBPOENA

          NOW COME Individual Defendants, Donald Kincaid, Bryn Joyce, and John Barrick

(hereinafter the “Individual Defendants”), by and through their attorneys, Nathan & Kamionski

LLP, and hereby move this Court pursuant to Fed. R. Civ. P. 45 for an order to compel Conde Nast

Entertainment and The New Yorker, Advance Magazine Publishers Inc., (hereinafter “The New

Yorker”) to properly respond to Individual Defendants’ Subpoena to produce records. In support

of their motion, Individual Defendants 1 state as follows:

                                           Factual Background

          This case arises out of the arrest, prosecution, and conviction of Plaintiffs for felony murder

of a 14-year-old boy named DeWitt Duckett in 1983. See Am. Compl., ECF No. 59. More than

thirty years later, Plaintiff Alfred Chestnut wrote to the State’s Attorney’s Office for Baltimore

City (hereinafter “SAO”), requesting a reinvestigation of his conviction. Id. ¶ 124. The SAO



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    Defendant Baltimore Police Department joins in seeking the requested relief.

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ultimately joined Plaintiffs’ Petition for Writ of Actual Innocence, which was granted on

November 25, 2019. Id. ¶¶ 125-126. The SAO subsequently dismissed the charges against

Plaintiffs. Id. ¶ 127. Following the dismissal of the charges, Plaintiffs filed this civil-rights lawsuit

against Individual Defendants and the Baltimore Police Department (“BPD”).

        The crux of Plaintiffs’ case is that the four eye-witness accounts, whose grand jury and

trial testimony supported Plaintiffs’ convictions, were all obtained through coercion by the

Individual Defendants. Id. ¶¶ 59-80. Critically, although the four eye-witnesses were interviewed

by the SAO in 2019, none have given sworn testimony since 1984. Simply put: the testimony of

these four witnesses is vital to the claims and defenses in this case. As such, the credibility and the

ability to properly assess the veracity of their testimony is indispensable to defending claims

supported by their anticipated testimony.

        On October 25, 2021, The New Yorker published an 8,666-word feature article titled

“When a Witness Recants,” by Ms. Jennifer Gonnerman, which explored in great detail the

present-day claims of one the four trial witnesses, Mr. Ron Bishop. See Article, attached as Exhibit

1. Ms. Gonnerman directly quotes Mr. Bishop, the Plaintiffs, and others, such as the author of the

SAO report and then-chief of the SAO’s Conviction Integrity Unit, Ms. Lauren Lipscomb, more

than 150 times. Id. As a result, Individual Defendants issued an extremely narrow subpoena to The

New Yorker seeking only “audio or video recordings of statements provided or interviews

conducted with anyone in connection with the article,” which was properly served on November

8, 2021. See Subpoenas to The New Yorker with Certificates of Service, attached as Exhibit 2.

        Counsel for The New Yorker initially requested that the Individual Defendants withdraw

their subpoena, then refused to produce any responsive records, stating, “[w]ithout confirming

whether or not The New Yorker has any such material, we decline to produce it...” See Emails



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from Counsel, attached as Exhibit 3. In response, Counsel for Individual Defendants requested

The New Yorker produce a privilege log as required under the federal and local rules and again

requested confirmation whether responsive records even exist. Id. By formal letter, The New

Yorker refused production – without a privilege log – and again refused to confirm the existence

of any responsive records. See November 24, 2021 Letter from the New Yorker, attached as

Exhibit 4. Despite The New Yorker’s blatant disregard for the Rules of Discovery and this Court’s

Local Rules, Individual Defendants presented their legal authority and requested a meet an confer

in compliance with the Maryland Local Rules. See Emails with Counsel 2, attached as Exhibit 5.

The New Yorker subsequently retained outside counsel. Id. During a meet and confer, outside

counsel for The New Yorker confirmed that hours of audio recordings responsive to Individual

Defendants’ subpoena existed, but after consulting their client, represented that The New Yorker

still refused to produce a privilege log. Id. Accordingly, Individual Defendants move to compel

the production of records responsive to their Subpoena, and to order The New Yorker to show

cause why it should not be held in contempt failing to comply with the Rules of Discovery.

                                        Legal Standard

       Under the Federal Rules of Civil Procedure, courts have broad powers to govern conduct

of discovery. Dashiel v. Montgomery County, 131 F.R.D. 102, 103 (D. Md. Nov. 16, 1989).

Federal Rule of Civil Procedure 45(A)(iii) commands each person, to whom a subpoena is directed

to “produce designated documents,” to comply with said subpoena at “a specified time and place.”

“[T]he scope of discovery allowed under a subpoena is the same as the scope of discovery allowed

under Rule 26.” Phillips v. Ottey, No. CV DKC 14-0980, 2016 WL 6582647, at *2 (D. Md. Nov.

7, 2016). “Thus, regardless of whether the Court considers [the parties’] Motion under Rule 45 or

Rule 26, the Court must review [ ] subpoenas under the relevancy standards set forth in Rule



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26(b).” Id. Under Rule 26(b), documents are discoverable so long as they are (1) non-privileged,

(2) relevant to any party’s claim or defense, and (3) proportional to the needs of the case.

                                            Discussion

    I. The New Yorker Failed to Properly Respond to the Individual Defendants’ Subpoena.

        Rule 45(d)(2)(A)(ii) requires that a person withholding subpoenaed information under a

claim of privilege must: “describe the nature of the withheld documents, communications, or

tangible things in a manner that, without revealing information itself privileged or protected, will

enable the parties to assess the claim.” The party claiming the privilege generally bears the burden

of proof as to its application. See, e.g., Solis v. Food Emp’rs Labor Relations Ass’n, 644 F.3d 221,

232 (4th Cir. 2011). The party must assert “privilege/protection with particularity for each

document, or category of documents, for which privilege/protection is claimed.” Victor Stanley,

Inc. v. Creative Pipe, Inc., 250 F.R.D. 251, 267 (D. Md. 2008). “Guideline 10(d)(ii)(b) of the Local

Rules provides additional information that a party objecting to the production of a particular

document under an analogous provision of the federal rules, see Fed. R. Civ. P. 26(b)(5)(A)(ii),

should include in its particularized description of the allegedly protected documents.” Am. Home

Assur. Co. v. KBE Bldg. Corp., No. CIV. CCB-13-1941, 2015 WL 348292, at *13 (D. Md. Jan.

13, 2015) ((i) the type of document; (ii) the general subject matter of the document; (iii) the date

of the document; and (iv) such other information as is sufficient to identify the document,

including, where appropriate, the author, addressee, custodian, and any other recipient of the

document, and, where not apparent, the relationship of the author, addressee, custodian, and any

other recipient to each other...).

        The New Yorker’s requests that Individual Defendants withdraw their subpoena, their

refusal to confirm the existence of the requested records, and the subsequent letter offering



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boilerplate objections that relying on law outside this jurisdiction do not comply with its

obligations set forth by the Federal Rules of Discovery and the Maryland Local Rules. Moreover,

The New Yorker’s disregard for the proper procedures of this Court also frustrates Individual

Defendants’ efforts to develop their case within this litigation’s discovery timeline. As such,

through its inaction and disregard for this Court’s rules, The New Yorker has effectively waived

any claims of privilege it may have. See Mezu v. Morgan State Univ., 269 F.R.D. 565, 573–74 (D.

Md. 2010) (“Objections to discovery must be specific, non-boilerplate, and supported by

particularized facts where necessary to demonstrate the basis for the objection. Failure to do so

may constitute a waiver of grounds not properly raised.”) (internal quotations and citations

omitted); Herbalife Int’l, Inc. v. St. Paul Fire & Marine Ins. Co., No. CIV.A. 5:05CV41, 2006 WL

2715164, at *4 (N.D.W. Va. Sept. 22, 2006) (“Failure to timely produce a privilege log or the

production of an inadequate privilege log may constitute a waiver of any asserted privileges.”);

Mosely v. City of Chicago, 252 F.R.D. 421, 426 (N.D. Ill.), order vacated in part on

reconsideration sub nom. Mosley v. City of Chicago, 252 F.R.D. 445 (N.D. Ill. 2008) (“By failing

to comply with Rule 45, the Respondents have waived whatever claim of privilege they might

have had in the tapes and interview notes.”).

   II. Individual Defendants Satisfy All Three Prongs Of the LaRouche Test.

       When considering a civil litigant’s right to compel evidence from a reporter and the First

Amendment claim of the press to protect its newsgathering activities, the Fourth Circuit has

adopted the following three-part balancing test: “(1) [W]hether the information is relevant, (2)

whether the information can be obtained by alternative means, and (3) whether there is a

compelling interest in the information.” LaRouche v. Nat’l Broad. Co., 780 F.2d 1134, 1139 (4th

Cir. 1986). Here, the requested audio/video recordings of statements made by critical witnesses in



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this case are indispensable to assessing the credibility of the witnesses. These recordings, or their

substantive equivalent, are not available by any alternative means. Thus, their absence, in light of

the unique circumstances of this case, will severely prejudice Individual Defendants’ ability to

effectively cross-examine the witnesses and assess their credibility.

           a. The Subpoenaed Records Are Highly Relevant.

        There can be no dispute, as The New Yorker implicitly concedes in its boilerplate

objections, that the subpoenaed records are extremely relevant to this case. See Ex. 1; see also Ex.

4. The allegations and quotations attributed to a critical trial witness that he publicly recants for

the very first time, inform every aspect of the claims and defenses in this case. 2 See Ex. 1 (“He e-

mailed me in May of 2020, and when I called him he spoke for more than three hours.”); see also

June 17, 2021 Email from Gonnerman to Bishop, attached as Exhibit 6 (“Thank you so much for

the chance to spend yesterday with you. I was so glad to get the chance to finally meet you in

person-and I was just so grateful for the chance to see your old school, Sandtown, and the

courthouse with you. Thank you for making the time to show me around! I really appreciated it.”).

Similarly, the statements made by Ms. Lipscomb are equally as relevant. See id. (“In early 2020, I

met with Lipscomb in her office to learn more about this case.”); Dkt. No. 64-9. And, the

statements by Plaintiffs themselves regarding their claims and damages are undoubtedly relevant.

See Ex. 1 (“At the end of the summer, I met with Chestnut and Watkins in a conference room at

Brown, Goldstein & Levy, the main law firm representing them, in downtown Baltimore. Stewart,

who now lives in South Carolina, appeared via Zoom on a large screen.”).




2
 The SAO promised the witnesses to protect their anonymity. See Dkt No. 49 at p. 1. Their names were
not disclosed in Plaintiffs and the SAOs’ jointly filed Petition for Writ of Actual Innocence, the SAO’s
Conviction Integrity Unit Report, or Plaintiffs’ Complaint. See Dkt. No. 64-9; Dkt. No. 1.

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             b. The Information Sought Cannot be Obtained by Alternative Means.

       Individual Defendants have no alternative source from which to obtain the requested

recordings. In considering the standard for the second prong of the LaRouche test, the Fourth

Circuit has emphasized that the “test does not ask whether there is other evidence,… it asks

‘whether the information [sought from the reporter] can be obtained by alternative means.’”

United States v. Sterling, 724 F.3d 482, 507 (4th Cir. 2013) (citing LaRouche, 780 F.2d at 1139

(emphasis added)).

       There is no equivalent to audio/video recordings, other than, perhaps, a transcription taken

by a trained stenographer to determine what a witness has previously stated. Similarly, there is no

equivalent to past recorded statements when assessing a witness’s credibility. Past recorded

statements are of extraordinary import when, as here, they form the entire basis for a federal civil

rights lawsuit. See Dkt. Nos. 59, 64-9. Plaintiffs’ entire case rests on their claims that four

witnesses were coerced to identify them as the murderers in the 1983 homicide based almost

entirely on their unsworn recantation statements procured more than 35 years after their trial

testimony.

       The New Yorker’s insistence that the information sought can alternatively be obtained by

deposing the four eye witnesses themselves, underscores the boilerplate nature of its objections.

See Ex. 4. Where the credibility of a witness is at issue, there is simply no substitute for past

recorded statements. This reality is heightened when one considers the actual facts of this case.

Mr. Bishop’s sworn grand jury and trial testimony supported Plaintiffs’ convictions in 1984. Dkt.

No. 59 ¶¶ 111-115.




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                                              The recordings Individual Defendants presently seek

from The New Yorker are the only other known recorded statements by Mr. Bishop. Ms.

Gonnerman spent hours upon hours discussing every detail of the case with Mr. Bishop, and she

even spent a day with him in Baltimore to visit the site of the shooting, the courthouse, and his

childhood neighborhood. See The New Yorker Email and Fact-Checking Memo, attached as Ex.

7; Ex. 6.



                                             To suggest that the substance of these recordings is

somehow available elsewhere ignores the unique circumstances of this case as well as the basic

principles that underly our legal system, including: that opposing counsel must be afforded the

opportunity to properly cross examine a witness, see Fed. R. Evid. 611; and a witness who cannot

be impeached by past recorded statements cannot be cross examined as effectively as a witness

who must remain consistent with prior statements. See Fed. R. Evid. 613. Moreover, Mr. Bishop

cannot not possibly remember all of the relevant and material statements he gave to The New

Yorker over so long a period, let alone recount them all in the allotted time of a deposition.

       Ms. Lipscomb’s recorded statements are similarly indispensable to assess her credibility.

For instance, The New Yorker presents the following quotes from Ms. Lipscomb:

       In early 2020, I met with Lipscomb in her office to learn more about this case. Three
       months had passed since she had finished her reinvestigation, and she was still livid.
       Speaking about the prosecutorial misconduct that she had uncovered, she said,
       “This is absolutely the worst that I have seen.” Why did the prosecutor refuse to
       give the police investigatory reports to the defense lawyers and then bury them in
       the court file? “I haven’t spoken to anyone yet who can explain why that occurred,”
       she said.


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Ex. 1.

         These published comments alone raise serious questions about Ms. Lipscomb’s credibility.

Notably, the Maryland Court of Special Appeals held that the prosecutor’s conduct was lawful and

that the Trial Court properly denied the criminal defendants’ (Plaintiffs’) motion for the production

of the police investigatory reports. See Dkt. No. 22-4 at pp.10-12; Dkt. No. 22 at Sec. II. Moreover,

Plaintiffs withdrew this claim through their Amended Complaint. See Dkt. No. 59-1 ¶¶ 4, 5, 100,

123. Consequently, Ms. Lipscomb is no ordinary witness. She is a prosecutor and an officer of the

Court, who had an added responsibility, as an arbiter of guilt and innocence within her “extra-

judicial” investigations and findings while leading the Conviction Integrity Unit. Unfortunately

for the Individual Defendants, given Mr. Lipscomb’s status, her credibility is much harder to

question. Consequently, her past recorded statements are even more critical to assessing her

credibility, and they simply cannot be replicated with other evidence.

         The Court’s conclusion in Sterling that “[c]learly, [the information] cannot be [obtained by

alternative means]. There are no other witnesses who can offer this testimony, nor is it found in

any other form of evidence,” is directly applicable to the facts and circumstances of recordings

made by The New Yorker. Sterling, 724 F.3d at 507; see also Federico v. Lincoln Mil. Hous., LLC,

No. 2:12-CV-80, 2014 WL 3962823, at *5 (E.D. Va. Aug. 13, 2014) (applying LaRouche and

finding that relevant outtakes and video footage, as well as communication between the media

outlet and individuals, parties, and their attorneys, could not be obtained by alternative means).

            c. Individual Defendants Have a Compelling Interest in the Information.

         “The right to confront, cross-examine and impeach adverse witnesses is one of the most

fundamental rights sought to be preserved by the Seventh Amendment provision for jury trials in

civil cases.” Adickes v. S. H. Kress & Co., 398 U.S. 144, 176 (1970) (Black, J., concurring).



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“Wisely employed it is perhaps the most powerful weapon in the arsenal of the lawyer in pursuit

of the whole truth.” Treharne v. Callahan, 426 F.2d 58, 62 (3d Cir. 1970). As Judge Grimm

observed in Behler v. Hanlon, 199 F.R.D. 553, 560 (D. Md. 2001), the most frequent and popular

method of impeachment is by prior inconsistent statement. In this instance, the requested

recordings are the only known prior recorded statements by Mr. Bishop that detail any allegations

of misconduct by Individual Defendants. Thus, they are critical to any cross-examination.

Likewise, Ms. Lipscomb’s recorded statements to The New Yorker are equally crucial. 3

        In an extremely similar set of circumstances, the court in Mosely v. City of Chicago made

the following observations directly applicable here: 4

        Mr. [Bishop, Ms. Lipscomb, and Plaintiffs] will be [ ] central witness in the case,
        and its outcome may hinge in large measure on the defendants’ ability to effectively
        cross-examine [them]. A component of that exercise is to point out to the jury
        statements made that would be inconsistent with [their] version of events. Unlike
        [other situations], there is every reason to conclude that the subpoenaed information
        is likely to contain critical information that could constitute or lead to admissible
        evidence. Of course, the trier of fact will be able to observe the demeanor of Mr.
        [Bishop, Ms. Lipscomb, and Plaintiffs]. But that does not in the slightest reduce the
        need for and relevance of the information that is being sought, for credibility
        involves more than demeanor. Evidence to be worthy of credit must not only be
        credible in itself, but must proceed from a credible source. Admission and prior
        inconsistent statements of a witness undermine credibility.

Mosely, 252 F.R.D. at 430-31 (internal quotations and citations omitted).


3
  It bears mentioning that, despite this Court’s order and admonishment to produce responsive discovery,
the SAO still failed to disclose multiple emails between Ms. Lipscomb and Mr. Bishop, in which they
coordinate an interview with Ms. Gonnerman to take place at the SAO offices. The SAO also continues to
improperly withhold text messages between the SAO’s Investigator and Mr. Bishop, which Mr. Bishop
provided to Ms. Gonnerman. Individual Defendants have learned of the existence of these records since
they have been produced by Mr. Bishop in response to a records subpoena.
4
  Individual Defendants acknowledge that Mosley applies the law of the Seventh Circuit, which does not
recognize a unique reporter’s privilege and, instead, requires that a subpoena be “reasonable in the
circumstances, which is the general criterion for judicial review of subpoenas.” Mosely, 252 F.R.D. at 427
(citing McKevitt v. Pallasch, 339 F.3d 530, 532 (7th Cir. 2003)). The dicta included is instructive and
directly on point nonetheless.

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        The Fourth Circuit’s application of the third prong of LaRouche—whether there is a

compelling interest in the information—evidences that the central inquiry is not so much about

any potential harm to a free press, which was never an explicit consideration in Sterling, but rather,

focuses on the extent of the compelling interest in disclosure. 5 See Sterling, 724 F.3d at 509-10.

While it is true that, unlike in Sterling, the interest in this case is not “the security of the Nation,”

Federico illustrates that a compelling need is demonstrated when relevant information that cannot

be obtained from an alternative source “could play a role in the outcome of [the] proceedings.”

Federico, 2014 WL 3962823, at *6.

        Additionally, wrongful convictions inherently shake the bedrock of the criminal justice

system. When a wrongful conviction claim hinges on recanted statements, the interest in obtaining

any former statements of those witnesses is indisputably heightened. Thus, there is an added

interest in ascertaining the truth behind claims that attack the integrity of law enforcement and the

judicial system, institutions that deserve and require the public trust to be effective. This interest

is further amplified when, as in this case, the recantations occur more than 35 years after the

convictions.

        Moreover, the compelling nature of the right to adequately examine critical witnesses

cannot be overstated. The entire legal system is predicated on the elicitation of evidence from

witnesses on direct and cross-examination, and a key component of cross-examination is the

introduction of extrinsic evidence of a prior inconsistent statement. See Fed. R. Evid. 611; Fed. R.

Evid. 613. The New Yorker, alone, is the only source of these prior inconsistent statements.

        In sum, to again borrow from the Mosely opinion:




5
  Indeed, the harm to the free press cannot be that great as demonstrated by the fact that CBS-Viacom
produced the audio/video recorded statements requested of them by subpoena without any objection.

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       The importance of and need for the information sought by the defendants in the
       instant case are in inverse proportion to the burden imposed on the Respondents if
       they are required to produce audio and video tapes of the [ ] interviews. Indeed, the
       stakes for the individual defendants could scarcely be greater. Not only is there the
       prospect of a crippling damage award, but their reputations will be ruined—
       justifiably so if they did what the complaint alleges.

Mosely, 252 F.R.D. at 433.

                                           Conclusion

       The New Yorker has not complied with the Federal Rules of Discovery or those

promulgated by this Court. The requested recordings are unavailable by any alternative means and

their absence, in light of the unique circumstances of this case, will severely prejudice Individual

Defendants’ ability to effectively cross-examine the witnesses and assess their credibility.

       WHEREFORE, Individual Defendants respectfully request that this Court enter an order

compelling the full production and inspection of the requested recordings, and for such other relief

as this Court may deem appropriate.




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DATED: December 22, 2021                            Respectfully submitted,

                                                    /s/ Mayer Engelsberg
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2021, I caused the foregoing document to be

electronically filed with the Court’s CM/ECF system, which will send an electronic copy of the

same to all counsel of record, and that I served a copy of the same on counsel for Conde Nast

Entertainment and The New Yorker, Advance Magazine Publishers Inc. via email.

                                                           /s/ Mayer Engelsberg




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